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Case 6:17-cr-06016-C.]S-.]WF Document 13 Filed 03/31/17 Pagelofl

F‘r-:Dl-:RAL PUBLIC DEFENDF_'R’s OFFlcE:
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Maich 30, 2017

 

via FAX “': l
Honorable lonathan W. Feld aft");; nj g
United States Mag;istrate lug § Jons: n . ;~.1 1 even an
U.S. Courthouse U 3 newly q mile i
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100 State Street
Rochester, NY 1_4614

 

Re: Unz`red Sl`af€.§‘ v. Richard Leon Wl'lbern, 17-01'-6016- CIS-]WF
UnffedSIareS v. Ric»_ltard Leon Wilbern, 17-cr-6017-CJS-J'WF

. Dear Magistrate lodge Feldlnan:

The above captioned matter is presently scheduled for an appearance fci status on
”D.lesday April 4, 2017, at 11: 00 a .m. Irespectfully request that this appearance be postponed for
30 days ln light of the following. Earliei this month, the government provided a partial
discovery disclosure which included material relating to approximately 1000 leads' m the case_
'l`he material is not only m documenta\ y,- .pdf, format but also audio and video format AUSA
Gregory indicates that additional discovery materials including forensic images of seized
devices, FBI 302 forms, and additional video recordings will be provided over the next one to
two weeks I request that the Court continue the status appearance until this remaining discovery
has been provided Once Ihave had the opportunity to assess this additional material, I will be in
a position to offer a reasonable estimate of the time needed to frame and file defense motions.

l also request that the Court exclude this time in the interests of justice pursuant to 18
U.S.C. 3161(h)(7) as it is in my client's interest that the defense receive all of the discovery in the
case so as to accurately assess how much time will be required to review the material and
prepare the defense' s pretrial motions in the case AUSA G'regory indicates that he does not
object to my request. AUSA Gregory has also informed me that he not available until after April
25th. _l enclose proposed orderS-

Very truly yours,

dance

Assistant Federal Public Defender
E.ncl.
cc: Douglas Gregoly, AUSA (via fax)

